       Case 4:18-cv-00999 Document 31 Filed on 10/02/19 in TXSD Page 1 of 2




                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 CHARLES GONZALES,                                   §
                                                     §
          Plaintiff,                                 §
                                                     §
 v.                                                  §     CIVIL ACTION NO. 4:18-cv-999
                                                     §
 WILMINGTON SAVINGS FUND                             §
 SOCIETY, FSB, D/B/A CHRISTIANA                      §
 TRUST, NOT IN ITS INDIVIDUAL                        §
 CAPACITY BUT SOLELY AS TRUSTEE                      §
 FOR RMAC TRUST, SERIES 2015-5T                      §
 AND RUSHMORE LOAN                                   §
 MANAGEMENT SERVICES LLC                             §
      Defendants.                                    §

                    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant Cilici, LLC, its

successors and assigns (“Cilici” or “Defendant”) file this Motion for Summary Judgment

requesting that the Court dismiss the claims asserted against them in Plaintiff’s Original Petition

(hereinafter “Plaintiff’s Complaint”), and would respectfully show unto the Court as follows:

         Defendant has separately filed its Brief in Support of this Motion Summary Judgment (the

 "Brief"), which Defendant incorporates herein by reference.

         WHEREFORE, Defendant respectfully requests that the Court grant its Motion for

 Summary Judgment, dismiss Plaintiff's claims with prejudice, grant Defendant the relief

 requested in its counterclaim, and grant such other and further relief to which they may be justly

 entitled.

         Dated:            October 2, 2019




DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                                       Page 1
BDFTE NO. 00000007386816 / Gonzales
       Case 4:18-cv-00999 Document 31 Filed on 10/02/19 in TXSD Page 2 of 2




                                                 Respectfully submitted,

                                                 BARRETT DAFFIN FRAPPIER
                                                 TURNER & ENGEL, LLP

                                                   /s/ Crystal Gee Gibson
                                                 Crystal Gee Gibson, Attorney in Charge
                                                 State Bar No. 24027322
                                                 SD No. 706039
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                                                 CrystalR@bdfgroup.com

                                                 ATTORNEYS FOR DEFENDANT

                                      CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of October, 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

 Via email crg28crg@yahoo.com
 Charles Gonzales
 10434 Rocky Hollow Road
 LaPorte, Texas 77571
 Plaintiff, pro se


                                                       /s/ Crystal Gee Gibson
                                                            Crystal Gee Gibson




DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT                                                      Page 2
BDFTE NO. 00000007386816 / Gonzales
